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                   UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



In re:                                        Case No. 20-62473-pmb


Ascension Air Management, Inc.,               Chapter 7
         Debtor.



     MOTION OF DARRELL MAYS FOR RULE 2004 PRODUCTION OF
                   DOCUMENTS BY DEBTOR
         Darrell Mays (“Movant” or “Mays”), a secured creditor and party in interest

in this chapter 7 case, by and through his counsel, files this motion (the “Motion”)

seeking an order authorizing Movant to compel the Debtor, Ascension Air

Management, Inc., to produce documents pursuant to Rule 2004 of the Federal

Rules of Bankruptcy Procedure. In support of this Motion, Movant respectfully

shows the Court as follows:

1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§

157 and 1334. Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and

1409. The Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

2.       On July 1, 2015, Debtor issued a promissory note to Movant in the original

principal amount of $500,000. On January 15, 2018, Debtor issued a second

promissory note to Movant in the original principal amount of $57,805.55 (together
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with the July 1, 2015 note, the “Notes”). The Notes were secured by all assets of

Debtor, including three aircraft, perfected through the filing of a UCC-1 Financing

Statement (and the filing of a Continuation Statement), as well as Notice of

Recordation of Aircraft Security Conveyance with the FAA with respect to the three

aircraft.

3.      To date, the Debtor has paid nothing to Movant in connection with the Notes.

In addition, the Debtor’s schedules of assets and liabilities disclose that Debtor owns

only one aircraft, suggesting that Debtor has illegally disposed of Movant’s

collateral.

4.      In late June, Movant informally requested all documentation in the possession,

custody, or control of Debtor relating to Debtor’s transactions with Movant, but has

not received a response.

5.      By this Motion, Movant seeks, pursuant to Rule 2004 of the Federal Rules of

Bankruptcy Procedure, production of documents by Debtor regarding the following:

      All documents, including correspondence, notes, and any other evidence of

        communications between Debtor and Mays, regarding the Promissory Note

        issued by Debtor to Mays on July 1, 2015;

      All documents, including correspondence, notes, and any other evidence of

        communications between Debtor and Mays, regarding the Promissory Note

        issued by Debtor to Mays on January 15, 2018;

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      All documents, including correspondence, notes, and any other evidence of

        communications between Debtor and Mays, regarding the Security Agreement

        executed by Debtor dated July 1, 2015 in favor of Mays;

      All documents, including correspondence, notes, and any other evidence of

        communications between Debtor and Mays, regarding the Aircraft Security

        Agreement executed by Debtor dated July 1, 2015 in favor of Mays; and,

      All documents, including correspondence, notes, and any other evidence of

        communications between Debtor and Mays, regarding the First Amendment to

        Aircraft Security Agreement dated September 18, 2018 executed by Debtor in

        favor of Mays.

6.      Upon the Court’s entry of an order granting this motion, and pursuant to

Bankruptcy Local Rule 2004-1(a), Movant’s counsel will attempt to confer with

Debtor’s counsel regarding the scope and scheduling of the production of documents.

        WHEREFORE, Movant respectfully requests that the Court enter an Order

in substantially the form attached to this Motion as Exhibit “A”:

        (a)   Granting this Motion;

        (b)   Authorizing Movant to compel Debtor to produce requested

        documents; and

        (c)   Granting Movant such other and further relief as the Court deems just

        and proper.

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      Respectfully submitted, this 28th day of August, 2020.


                                     TAYLOR ENGLISH DUMA LLP

                                     s/ John W. Mills, III
                                     JOHN W. MILLS, III
                                     Georgia Bar No. 509705
                                     jmills@taylorenglish.com

                                     1600 Parkwood Circle, Suite 200
                                     Atlanta, Georgia 30339
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                                     Attorney for Darrell Mays




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                               Exhibit A
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                   UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



In re:                                      Case No. 20-62473-pmb


Ascension Air Management, Inc.,             Chapter 7
         Debtor.



  ORDER GRANTING MOTION OF DARRELL MAYS FOR RULE 2004
          PRODUCTION OF DOCUMENTS BY DEBTOR
         The Motion of Darrell Mays (“Movant”) for Rule 2004 Production of

Documents by Debtor (“Motion”) having been read and considered, it is
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      ORDERED that the Motion is GRANTED to permit that production of

documents by Debotor in accordance with FED. R. BANKR. R. 2004(b) at a

mutually agreed time and place. If production of documents cannot be obtained

voluntarily, Movant may compel production of documents as provided in FED. R.

BANKR. P. 2004(c).

                        END OF DOCUMENT


Order prepared and presented by:


TAYLOR ENGLISH DUMA LLP

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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the foregoing

MOTION OF DARRELL MAYS FOR RULE 2004 PRODUCTION OF

DOCUMENTS BY DEBTOR upon each of the parties listed below via first class

United States mail, postage prepaid, as follows:

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Counsel for Ascension Air
Management, Inc.

Michael J. Bargar
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Atlanta, Georgia 30363

Counsel for Chapter 7 Trustee
S. Gregory Hays


      This 28th day of August, 2020.

                                       TAYLOR ENGLISH DUMA LLP

                                       s/ John W. Mills, III
                                       JOHN W. MILLS, III
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